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                                                                                              ;    AUG I 8 2015
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                                                  ...;
                                            Alexandria Division


                                                            )
    United States of America,                               )
                                                            )
                                                            )        Criminal No. l:14-cr-135
                                                            )
                                                            )        Hon. Liam 0'Grady
    Miguel Arnulfo Valle Valle, et al.                      )
                              Defendants.                   )
                                                            )
                                                            )
                                                            )

                                     MEMORANDUM OPINION


        This matter comes before the Court on the joint motion to dismiss the indictment (Dkt.

No. 64) andjoint motion for a bill of particulars (Dkt. No. 77) filed by Miguel Arnulfo Valle

Valle and Luis Alonso Valle Valle. The government opposed the motion to dismiss (Dkt. No.

73) and the defendants replied. (Dkt. No. 76). The government also opposed the motion for a

bill of particulars. (Dkt. No. 80). The Court heard oral argument on May 1, 2015.

I. Background

        On June 19,2014, a federal grandjury in the Eastern District of Virginia returned a

superseding indictment against Miguel Arnulfo Valle Valle ("Miguel Arnulfo"),1 Luis Alonso
Valle Valle ("Luis Alonso"), and thirteen co-conspirators. The indictment alleges the following

offenses: conspiracy to distribute five kilograms or more of cocaine in violation of 21 U.S.C. §§

841(a)(1) and 846 (Count 1); conspiracy to distribute five kilograms or more of cocaine with

intent to import in violation of 21 U.S.C. §§ 963 and 959(a) (Count 2); and conspiracy to engage
in money laundering in violation of 18 U.S.C. § 1956 (Count 3). Miguel Arnulfo and Luis

1The government and the defendants refer lo Miguel Arnulfo as "Arnulfo" and "Miguel" respectively. The Court
will refer to this defendant as "Miguel Arnulfo" throughout this Memorandum Opinion.
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